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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

AMERICAN AIRLINES, INC.,                            §
                                                    §
       Plaintiff,                                   §
                                                    §
v.                                                  §   Civil Action No. 4:23-cv-00860-P
                                                    §
SKIPLAGGED, INC.,                                   §
                                                    §
       Defendant.                                   §


        PLAINTIFF AMERICAN AIRLINES, INC.’S RULE 50(A) MOTION FOR
          JUDGMENT AS A MATTER OF LAW AND BRIEF IN SUPPORT


       Pursuant to Rule 50(a) of the Federal Rules of Civil Procedure, Plaintiff American Airlines,

Inc. (“American”) files this Motion for Judgment as a Matter of Law. American requests that the

Court direct entry of judgment in American’s favor for the reasons stated herein.

                           I.     PRELIMINARY STATEMENT 1

       At the close of evidence, American moves this Court to rule as a matter of law that: (i)

Skiplagged is liable for trademark infringement under 15 U.S.C. § 1114; (ii) American is entitled

to injunctive relief for Skiplagged’s copyright 2 and trademark infringements; and (iii) that

Skiplagged’s remaining defenses—nominative fair use, laches, acquiescence, license, and




1
  By submitting this Rule 50(a) Motion, American preserves—and specifically does not waive—
its position that all equitable defenses and matters (including trademark profits disgorgement
entitlement, laches, acquiescence, and unclean hands) are for the Court, not the jury. American
understands the Court’s ruling that it—and not a jury on an advisory basis—will determine these
equitable issues. American thus submits argument on the equitable defenses and issues to assist
the Court’s later decision on these matters for which no 7th Amendment jury trial right exists.
2
 This Court determined on July 31, 2024 that Skiplagged is liable for copyright infringement under
17 U.S.C. § 501 et seq. [Dkt. No. 199 at 6–9].


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mitigation of damages—all fail.

       American is entitled to judgment as a matter of law on all such requests, because the

evidence presented during its case-in-chief conclusively establishes Skiplagged’s liability for

trademark infringement, American is entitled to a permanent injunction to curb Skiplagged’s

ongoing and future infringing actions. Further, Skiplagged failed to put forth evidence to establish

the required elements of its remaining defenses—and, in any event, its equitable defenses are

barred by unclean hands.

                                   II.     LEGAL STANDARD

       A motion for judgment as a matter of law (“JMOL”) “challenges the legal sufficiency of

the evidence.” Hodges v. Mack Trucks, Inc., 474 F.3d 188, 195 (5th Cir. 2006); see FED. R. CIV.

P. 50(a)(1). A court must grant a motion for JMOL when there is no legally sufficient evidentiary

basis for a reasonable jury to find for the party on an issue on which that party has been fully heard.

See Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 149 (2000); Retractable Techs.,

Inc. v. Becton Dickinson & Co., 842 F.3d 883, 891 (5th Cir. 2016). In determining whether a

sufficient evidentiary basis exists, the Fifth Circuit counsels that a jury’s freedom to draw

reasonable inferences may not extend so far as to allow the jury to draw an inference which

amounts to mere speculation and conjecture. See Nichols Const. Corp. v. Cessna Aircraft Co., 808

F.2d 340, 352 (5th Cir. 1985). Moreover, conclusory testimony is not substantial evidence.

MobileMedia Ideas LLC v. Apple Inc., 780 F.3d 1159, 1172 (Fed. Cir. 2015). A mere scintilla of

evidence is insufficient to present an issue to the jury. See Boeing Co. v. Shipman, 411 F.2d 365,

374 (5th Cir. 1969) (en banc).




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                                      III.    ARGUMENT

A.     American is entitled to JMOL on its trademark infringement claim.

       To prevail on its trademark infringement claim under the Lanham Act, American must

show (1) it possesses valid trademarks and (ii) Skiplagged’s use of American’s valid trademarks

creates a likelihood of confusion as to source, affiliation, or sponsorship. See Nola Spice Designs,

L.L.C. v. Haydel Enterprises, Inc., 783 F.3d 527, 536 (5th Cir. 2016); 15 U.S.C. § 1114(1). The

evidence American presented during its case-in-chief—along with the parties’ joint stipulations—

conclusively demonstrated that American is the owner of registered trademark rights in the famous

and valuable American Marks. Likewise, the evidence conclusively demonstrated that Skiplagged

used without authorization marks that were identical to the American Marks in connection with

the sale of at least 1.4 million tickets. The Court should accordingly rule on the issue and direct

entry of judgment in American’s favor on its trademark claim and all of Skiplagged’s defenses to

American’s trademark claim.

       1.      American indisputably has valid trademarks.

       The evidence American introduced during its case-in-chief, including the Certificates of

Registration and testimony of Neil Geurin regarding the same, shows that American has used and

continues to use the trade name and trademark “American Airlines” and “American,” as well as

other iconic trademarks, for decades. [See Exhibits PX001–PX005]. The evidence shows

American has invested heavily its brands and other intellectual property. Additionally, the

evidence shows that, in the early 2010s, American modernized its branding and introduced an

updated logo, shown below, which is referred to as American’s “Flight Symbol.” [Exhibit PX006].




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In sum, it is indisputable that American uses AMERICAN AIRLINES, AMERICAN and the Flight

Symbol (collectively, the “Marks” or “American Marks”) extensively in connection with

transportation services, loyalty programs, discount programs, incentive award programs, and

travel-related goods and services, in interstate commerce.

       Furthermore, as Neil Geurin testified during the trial, the evidence shows American uses

the American Marks in virtually every part of its business and at every opportunity. This includes

on its aircraft, on employee uniforms, on its website, throughout airports, on stadium and arena

sponsorships, and in print and spot advertisements. Clearly, the American Marks are well-known

and recognized by the general public, as well as by members of the travel industry, as symbols

indicating travel-related services originating with American. [See, e.g., Exhibit PX007 at 4, 15]. It

also showed that American has expended significant resources in controlling the use of its Marks.

For example, American strictly limits the licenses it grants to accredited, authorized travel agents,

including through provisions in its Addendum to the Governing Travel Agency Agreement

(“GTAA”), and, relevant to this case, the evidence shows any licenses granted are personal to the

agent and do not include a right to sublicense American’s Marks. [See Exhibit PX009 at 11–12;

Exhibit PX010]. Further, Mr. Geurin and Skiplagged itself confirmed that American has never

granted a license to Skiplagged.

       American’s federal registrations on the Principal Register are prima facie evidence of

American’s ownership of the American Marks, the validity of the registered American Marks, and

of American’s exclusive right to use the American Marks in commerce. 15 U.S.C. §1115(a); 15

U.S.C. §1057(b). All but one of the American Marks are “incontestable.” 15. U.S.C. §1115(b).

Skiplagged has not challenged the legitimacy of American’s Marks. American’s ownership of

valid trademarks is therefore undisputed and established conclusively.




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       2.      Skiplagged’s use of valid trademarks creates confusion as to source, affiliation,
               or sponsorship as a matter of law.

       Generally, to establish likelihood of confusion, courts consider the “digits of confusion.”

Xtreme Lashes, LLC v. Xtended Beauty, Inc., 576 F.3d 221, 227 (5th Cir. 2009). However,

examining the digits of confusion is unnecessary in this case. This case presents the exceptional

situation where exact copies of the valid trademarks at issue (the American Marks) are being used

by the infringer, Skiplagged. See Paulsson Geophysical Servs. v. Sigmar, 529 F.3d 303, 311 (5th

Cir. 2008) (affirming district court’s decision not to analyze the likelihood of confusion factors

because the marks were an exact match). The evidence, including exhibits showing screenshots of

Skiplagged.com, conclusively establishes that Skiplagged has used exact copies of American’s

AMERICAN AIRLINES, AMERICAN and Flight Symbol trademarks, and that it has used exact

copies of the American Marks on its website to sell at least 1.4 million trips and to generate

millions of dollars in revenue for itself. Thus, Skiplagged’s use of unauthorized exact copies of

the American Marks conclusively establishes a likelihood of confusion. See id. at 310–11.

       Considering the digits of confusion leads to the same result. The digits of confusion are

“(1) the type of trademark; (2) mark similarity; (3) product similarity; (4) outlet and purchaser

identity; (5) advertising media identity; (6) defendant’s intent; (7) actual confusion; and (8) care

exercised by potential purchasers.” Id. The evidence, including testimony from Neil Geurin, shows

that the American Marks are strong, well-known marks, that American has been using

AMERICAN AIRLINES and AMERICAN since the 1930’s and has been using the Flight Symbol

for over a decade, that American issues tickets to hundreds of millions of passengers annually. The

evidence, including testimony from Aktarer Zaman and Rob Holmes, as well as exhibits showing

test buys and screenshots of Skiplagged.com, further shows Skiplagged is selling identical

services, that both companies target the exact same customers and advertise in the exact same



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media, and that Skiplagged’s intent is unabashedly to persuade customers that it is a legitimate

source of tickets for American flights. [See Exhibits PX023–PX030, PX033, PX034, PX185]. The

evidence, including testimony from expert Professor Jerry Wind, also showed that customers

generally do not exercise enough care to determine whether Skiplagged is American’s authorized

agent, as demonstrated by Skiplagged’s substantial sales, as well as numerous complaints

submitted to both Skiplagged and American.

       Finally, and most importantly, the evidence shows that a great deal of actual confusion is

taking place in the marketplace as a result of Skiplagged’s actions. The trial record is replete with

examples of both customers contacting American to complain about issues with flights they

purchased through Skiplagged and customers contacting Skiplagged to make changes to their

flight itineraries. [See Exhibits PX036, PX045, PX046, PX056, PX063, PX067, PX071, PX076,

PX078, PX080]. Furthermore, as the testimony of Professor Wind informed, customers mistakenly

believe that Skiplagged has some sort of association with American. Professor Wind’s testimony

further showed that roughly the same percentage of survey participants believed Skiplagged was

associated with American as did those who believed that Expedia is associated with American—

the latter actually being a longstanding agent of American. Dr. Wind also established that at least

ten thousand complaints received by Skiplagged demonstrate consumer confusion and deception.

[See Exhibits PX036, PX045, PX046, PX056, PX071, PX076]. In short, all eight digits of

confusion conclusively weigh in American’s favor—even though the Court is under no obligation

to consider the digits here.

       3.      Skiplagged has willfully used American’s valid trademarks.

       Further, the evidence conclusively established that Skiplagged willfully used American’s

valid trademarks. The evidence shows that Skiplagged is not and never has been an agent of

American, and that despite the fact that Skiplagged is not American’s agent, Skiplagged uses


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American’s Marks—without permission—extensively throughout its booking process. [See

Exhibits PX023, PX030]. For example, the evidence shows Skiplagged allows customers to search

for “American Airlines” tickets and uses the word mark AMERICAN AIRLINES when presenting

a specific flight to its users through the entire booking process. 3 [See Exhibits PX023, PX030].

       A defendant acts willfully “if he knows his actions constitute an infringement.” Taylor

Made Golf Co. v. MJT Consulting Group, 265 F. Supp. 2d 732, 748 (N.D. Tex. 2005) (quoting

Broad. Music, Inc. v. Xanthas, Inc., 855 F.2d 233, 236 (5th Cir. 1988)). Several Circuit Courts of

Appeal, as well as courts within the Fifth Circuit, have found willful conduct where a defendant

acts with “reckless disregard for, or [with] willful blindness” toward a trademark owner’s rights.

Berg v. Symons, 393 F. Supp. 2d 525, 539–40 (S.D. Tex. 2005) (quoting Island Software &

Computer Serv., Inc. v. Microsoft Corp., 413 F.3d 257, 263 (2d Cir. 2005)). See also Microsoft

Corp. v. Wholesale Club, Inc., 129 F. Supp. 2d 995, 1007 (S.D. Tex. 2000) (“A finding of

willfulness does not require actual knowledge, but rather willful blindness.”); A Touch of Class

Jewelry v. J.C. Penney Co., No. CIV. A. 98–2949, 2000 WL 1224804, at *5 (E.D. La. Aug. 28,

2000) (quoting SecuraComm Consulting Inc. v. Securacom, 166 F.3d 182, 187 (3d Cir. 1999)

(“Knowing or willful infringement . . . involves an intent to infringe or a deliberate disregard of

the mark holder’s rights.”)). In this case, there can be no question Skiplagged acted willfully.

       The evidence presented during American’s case-in-chief conclusively establishes

Skiplagged’s willfulness. The evidence shows Skiplagged’s affirmative steps to avoid detection




3
 While Skiplagged’s CEO, Aktarer Zaman, testified that his “experiment” of removing
American’s Flight Symbol from its webpage (and only displays gray-out version of the Flight
Symbol ( ) did not impact traffic to its website, Skiplagged can end this “experience” at any
time and reinstate use of American’s Flight Symbol on the outcome of this case, absent an
injunction preventing the same.


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by American (e.g., by shifting IP addresses, using customers’ emails, using shadow browser

sessions to book tickets). [See Exhibits PX126, PX127, PX128, PX030]. The evidence, including

testimony from Marcial Lapp, shows Skiplagged’s commitment to deceiving customers was so

strong that it utilized shadow browser sessions to mirror the customer’s actions, without the

customer’s knowledge. [See Exhibits PX071, PX156, PX172]. The evidence introduced at trial

also included numerous customer complaints to Skiplagged, wherein customers believing that

Skiplagged was an authorized agent. [See Exhibits PX036, PX045, PX046, PX056, PX071,

PX076]. These customers repeatedly expressed frustration that Skiplagged refused to handle

routine requests such as assisting with flight delays, weather delays, scheduling changes, and other

routine issues. [See Exhibits PX063, PX067, PX078, PX080]. Individually, any one of these

factors and pieces of evidence would be sufficient to support a finding of willfulness—together,

they are conclusive.

B.     Skiplagged’s defenses of nominative fair use, laches, acquiescence, and license all fail
       as a matter of law, because Skiplagged failed to put forth evidence on essential
       elements of its defenses and its equitable defenses are also barred by Skiplagged’s
       unclean hands.

       The evidence presented in American’s case-in-chief, along with legal bars, conclusively

establish that Skiplagged did not meet its burden on its remaining affirmative defenses. As set

forth below, Skiplagged’s nominative fair use, laches, acquiescence, and license defenses 4 all fail

as a matter of law.




4
 Skiplagged included additional affirmative defenses in its Answer and in the Joint Pretrial Order
which it abandoned at trial by presenting no argument or evidence. [See Dkt. No. 144 at 18–22;
Dkt. No. 282 at 35–39].


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       1.      Skiplagged’s nominative fair use defense fails as a matter of law because the
               evidence establishes that the defense is inapplicable or, alternatively, shows
               that Skiplagged’s use was of American’s Marks was not de minimis.

       At the outset, Skiplagged’s use of American’s Marks is commercial and for Skiplagged’s

profit, and Skiplagged simply does not have permission to sell American tickets (or to

surreptitiously manipulate American’s website in order to trick American’s website into issuing

tickets). As the Court recognized in its Memorandum Opinion and Order on American’s Motion

for Partial Summary Judgment, “Skiplagged is not authorized by AA to offer flights to anyone,

period.” [Dkt. No. 199 at 8 (quoting Dkt. No. 187 at 29)]. Under these circumstances, fair use can

never apply.

       To prove its fair use defense, Skiplagged must (1) only use so much of the American’s

Marks as necessary to identify the product or service and (2) not do anything that suggests

affiliation, sponsorship, or endorsement by American. Bd. of Supervisors for La. State Univ. Agric.

& Mech. College v. Smack Apparel Co., 550 F.3d 465, 489 (5th Cir. 2008).

       The evidence American presented during its case-in-chief conclusively establish that

Skiplagged cannot establish either element. First, the evidence shows that Skiplagged uses

American’s Marks more than is reasonably necessary to identify the product or service (or a de

minimis amount); to the contrary, the evidence shows Skiplagged liberally used American’s Marks

without its permission. [See Exhibits PX023–PX030]. Second, the evidence further shows that

Skiplagged’s use is the exact kind that confuses customers into believing an affiliation,

sponsorship, or endorsement exists between American and Skiplagged.

       The nominative fair use doctrine permits one to “use another’s mark truthfully to identify

another’s goods or services in order to describe or compare its product to the markholder’s

product.” Bd. of Supervisors for La. State Univ. Agric. & Mech. College, 550 F.3d at 489. A

defendant’s use of another’s mark in an attempt to “capitalize on consumer confusion” is not a


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nominative fair use. Id. Given these additional elements, Skiplagged’s nominative fair use defense

fails as a matter of law. Skiplagged did not use American’s Marks to “truthfully” identify

American’s goods “in order to describe or compare [Skiplagged’s] product to” American’s. Id.

Rather, Skiplagged had the bad faith intent to use the marks to “capitalize on consumer confusion,”

as evidenced by the record as a whole.

       On these bases, Skiplagged’s nominative fair use defense fails as a matter of law.

       2.      Skiplagged’s laches defense fails as a matter of law because the evidence shows
               that American did not unreasonably delay in filing suit, and, as such,
               Skiplagged was not prejudiced by any such “delay.”

       For Skiplagged to succeed on its laches defense, it is required to show that American (1)

unreasonably delayed asserting its rights, or (2) that Skiplagged has suffered “a good faith change

of position . . . to his detriment because of [American’s] delay.” See Exxon Corp. v. Oxxford

Clothes, Inc., 109 F.3d 1070, 1082 (5th Cir. 1997). Because Skiplagged failed to present evidence

supporting either theory, its laches claim fails as a matter of law.

       The evidence presented during American’s case-in-chief shows that Skiplagged’s entire

business model centers around avoiding detection; that it uses dynamic IP addresses so that

American cannot detect when Skiplagged is using a shadow browser session to access AA.com.

[See Exhibits PX071, PX156, PX172]. The evidence shows that Skiplagged created a sophisticated

shadow browser system so it could pretend as if a customer was accessing American’s website,

instead of Skiplagged, and that it encouraged customers to lie to American if asked whether they

did business with Skiplagged. [See Exhibits PX023–PX030, PX178]. The evidence, including

testimony from Mr. Zaman, was that Skiplagged claims to have relationships with legitimate

sellers of American tickets. Because of Skiplagged’s efforts to avoid detection demonstrates

Skiplagged had “unclean hands,” laches simply should never apply.

       Further, Skiplagged’s active steps to avoid detection, and to counter steps American took


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to stop Skiplagged’s activity, demonstrates that Skiplagged knew at all times that American

objected to its activity.

        Still further, Skiplagged has failed to demonstrate its reliance on American’s purported

lack of activity. Mr. Zaman admitted that the real impetus for investing in his website was the

desire (and perhaps, pressure from investors) to be profitable, and that this pressure resulted in him

completing the new “book” system in or around 2017. This testimony aligns perfectly with

American’s own growing awareness of Skiplagged, and explains why Skiplagged was largely not

on American’s radar before that. The evidence American presented further shows that American

was diligent and attempted to resolve its issues with Skiplagged without resort to litigation. For

example, American tried various technical solutions first, and then internal concern gradually

increased once American learned in 2020 that Skiplagged was itself linking directly into

American’s website. [See Exhibit PX133]. As Mr. Geurin and Mr. Lapp discussed in their

testimony, American met directly with Skiplagged in 2020 and discussed Skiplagged’s business

selling hidden-city tickets. [See PX150 at 1]. Mr. Geurin testified that the outcome of that meeting

was that Skiplagged was resolved to continue using American’s trademarks and sell hidden-city

tickets. The evidence further shows that American filed suit in 2023, after nationwide travel

rebounded from pre-pandemic levels, and in the midst of consumer complaints about Skiplagged

reaching a fever pitch. Skiplagged’s own sales records and company growth track perfectly with

American’s increasing concern about Skiplagged. Finally, Skiplagged also confirmed that it made

no major capital investments since it completed development of the “book” system in 2017, and

presented no evidence that it made major business investments or expansions that depended on

American’s Marks (as opposed to other airlines in general).

        On these bases, Skiplagged’s laches defense fails as a matter of law.




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       3.      Skiplagged’s acquiescence defense fails as a matter of law because the evidence
               conclusively shows American never permitted Skiplagged to use American’s
               Marks.

       To prove its acquiescence defense, Skiplagged must prove three elements: (1) that

American gave assurances to Skiplagged that it could use American’s Marks; (2) that Skiplagged

relied on those representations, and (3) undue prejudice to Skiplagged resulting from its reliance

on the assurances. See Pennzoil-Quaker State Co. v. Miller Oil & Gas Ops., 779 F.3d 290, 294

(5th Cir. 2015) (citing Abraham v. Alpha Chi Omega, 708 F.3d 614, 624 (5th Cir. 2013)); Wilson

v. Tessmer L. Firm, 483 F. Supp. 3d 416, 430 (W.D. Tex. 2020).

       The evidence presented during American’s case-in-chief conclusively establishes that no

communication, agreement, or assurance exists whereby American permitted Skiplagged to use

American’s Marks. The evidence American presented shows that when Skiplagged and American

met in 2020 (they had not met subsequently, besides this litigation), the product of this meeting

was unmistakably not a license for American’s Marks. [See Exhibit PX128].

       Further, Skiplagged has not produced any evidence that it relied on American’s assurances

that using the American Marks was appropriate. First, because there was no such assurance, there

can be no reliance on a non-existent assurance. Second, there is simply no evidence that Skiplagged

took steps such as making significant investment decisions or building the bulk of its business on

the reasonable assumption that it had permission to use American’s Marks. Skiplagged books

flights for several airlines, not just American, and there is no evidence in any internal Skiplagged

document that specifically (or even implicitly) demonstrates that Skiplagged catered its business

model, decisions, and investments to its ability to use American’s Marks.

       On these bases, Skiplagged’s acquiescence defense fails as a matter of law.




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       4.      Skiplagged’s license defense similarly fails as a matter of law because the
               evidence conclusively shows American never conferred Skiplagged with a
               license to use American’s Marks.

       To prove its license defense, Skiplagged was required to prove (1) the existence of a valid

license, and (2) its scope of authorized use. Loeb-Defever v. Mako, L.L.C., 2023 WL 5611042 (5th

Cir. Aug. 30, 2023); Stross v. Redfin Corp., 730 F. App’x 198, 203 (5th Cir. 2018).

       The evidence presented by American during its case-in-chief conclusively establishes that

American did not confer a license—express or implied—upon Skiplagged to use American’s

Marks. To the exact contrary, the evidence, including testimony from Mr. Geurin that American’s

contract with Skyscanner does not provide Skiplagged with a license, conclusively shows that

American intentionally refrained from conferring upon Skiplagged such a license—and no

license’s scope would permitted Skiplagged’s use. [See Exhibits PX013, PX016]. On this basis,

Skiplagged’s license defense fails as a matter of law.

       5.      Skiplagged’s mitigation of damages defense fails as a matter of law, because it
               is not a defense to trademark infringement and Skiplagged failed to introduce
               any evidence that American failed to mitigate its damages.

       American is entitled to judgment as a matter of law on Skiplagged’s mitigation of damages

defense, because the defense is legally inapplicable and no evidence supports it. Numerous courts

have held that mitigation of damages is not a defense to trademark infringement. See 15 U.S.C. §

1115 (listing affirmative defenses but not failure to mitigate); Natreon, Inc. v. Ixoreal Biomed,

Inc., No. 16-4735 (FLW) (DEA), 2017 WL 3131975, at *7 (D.N.J. July 21, 2017) (“Moreover,

this Court is unable to find any controlling authority to support the position that mitigation of

damages is a valid affirmative defense to the Lanham Act[.]”); Janes v. Watson, No. SA-05-CA-

0473-XR, 2006 WL 2322820, at *17 (W.D. Tex. Aug. 2, 2006) (“The Court fails to see how the

failure to mitigate defense applies to” a claim for trademark infringement since “there is nothing

Plaintiffs can do to mitigate [their] damages”).


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        Regardless, no evidence supports the mitigation defense. Skiplagged adduced no evidence

of any reasonable action American could have done to reduce its actual damages. Under the law,

American has no duty as a matter of law to incur unreasonable expenses to stop Skiplagged’s

wrongful and intentional infringement.

        6.      Skiplagged’s unclean hands bar it from asserting equitable defenses.

        Skiplagged’s equitable defenses not only fail on their merits (discussed above), but they

also fail because of Skiplagged’s unclean hands and willful infringement on American’s Marks.

The Fifth Circuit law forbids a defendant with “unclean hands” from asserting equitable claims or

defenses. See Abraham v. Alpha Chi Omega, 796 F. Supp. 2d 837, 845 (N.D. Tex. 2011) (“[T]hese

defenses are equitable defenses, and before determining whether [defendant] has successfully

demonstrated the defenses of laches and acquiescence, the Court must determine whether

[defendant] is barred from asserting these defenses due to unclean hands.”) (citing Carmona v.

Rubio, No. H–06–228, 2007 WL 543438, at *5 (S.D. Tex. Feb. 16, 2007) (“As a threshold matter,

a defendant with ‘unclean hands’ may not prevail on the equitable defense of laches.”); 4 Callman

on Unfair Competition, Trademarks, and Monopolies § 23.26 (4th ed. 2010) (“Intentional

infringement is a dispositive, threshold inquiry that bars further consideration of the laches

defense, not a mere factor weighed in balancing the equities.”)); Tank Works, Inc. v. Snyder Indus.,

Inc., No. 4:11-cv-246-A, 2011 WL 3204694, at *5 (N.D. Tex. July 26, 2011) (“An equitable

doctrine, such as waiver, ‘cannot be successfully asserted . . . if the defendant comes to court with

unclean hands.’”) (citing Regional Props., Inc. v. Fin. & Real Estate Consulting Co., 752 F.2d

178, 183 (5th Cir. 1985)).

        In a trademark case, a defendant has unclean hands if it intentionally infringed the

plaintiff’s trademarks with the bad faith intent to capitalize on the plaintiff’s reputation or goodwill

in the market. Rolex Watch USA, Inc. v. Beckertime, LLC, 96 F.4th 715, 723 (5th Cir. 2024); Bd.


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of Supervisors for LSU Agric. & Mech. Coll. v. Smack Apparel Co., 550 F.3d 465, 489–90 (5th

Cir. 2008) (citing Conan Properties, Inc. v. Conans Pizza, Inc., 752 F.2d 145, 150 (5th Cir. 1985)

(“A defendant who intentionally infringes a trademark with the bad faith intent to capitalize on the

markholder’s good will lacks the clean hands necessary to assert the equitable defense [of

laches].”)). This bars a party from benefiting when its own conduct in connection with the same

matter has been unjust, marked by a lack of good faith, or violates the principles of equity and fair

dealing.

       Here, the evidence introduced by American during its case-in-chief shows Skiplagged

voluntarily and intentionally used American’s Marks to acquire business from consumers.

Skiplagged’s CEO, Mr. Zaman, admitted he never sought permission to use American’s Marks.

Yet, Skiplagged continues to use American’s Marks to capitalize on American’s recognition and

goodwill—even after this lawsuit was filed. The evidence shows that Skiplagged’s own unclean

hands bar it from asserting its equitable defenses.

                                      IV.    CONCLUSION

       Based on the foregoing, American respectfully requests the Court enter judgment in this

case, ruling: (i) Skiplagged is liable for Trademark Infringement under 15 U.S.C. § 1114; (ii)

American is entitled to injunctive relief for Skiplagged’s Copyright and Trademark infringements;

and (iii) that Skiplagged’s remaining defenses—nominative fair use, laches, acquiescence, license,

and mitigation of damages—all fail.




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Dated: October 10, 2024               Respectfully submitted,
                                      /s/ Dee J. Kelly, Jr.
                                      Dee J. Kelly, Jr.
                                      State Bar No. 11217250
                                      dee.kelly@kellyhart.com
                                      Julia G. Wisenberg
                                      State Bar No. 24099146
                                      julia.wisenberg@kellyhart.com
                                      KELLY HART & HALLMAN LLP
                                      201 Main Street, Suite 2500
                                      Fort Worth, Texas 76102
                                      (817) 332-2500

                                      R. Paul Yetter
                                      State Bar No. 22154200
                                      pyetter@yettercoleman.com
                                      Tyler P. Young
                                      State Bar No. 24129144
                                      tyoung@yettercoleman.com
                                      YETTER COLEMAN LLP
                                      811 Main Street, Suite 4100
                                      Houston, Texas 77002
                                      (713) 632-8003

                                      Cameron M. Nelson
                                      nelsonc@gtlaw.com
                                      GREENBERG TRAURIG LLP
                                      77 West Wacker Drive, Suite 3100
                                      Chicago, Illinois 60601
                                      Telephone: (312) 456-6590

                                      Nathan J. Muyskens
                                      nathan.muyskens@gtlaw.com
                                      GREENBERG TRAURIG LLP
                                      2101 L Street, N.W., Suite 1000
                                      Washington, DC 20037
                                      Telephone: (202) 331-3100

                                      Bina Palnitkar
                                      State Bar No. 24070378
                                      palnitkarb@gtlaw.com
                                      GREENBERG TRAURIG LLP
                                      2200 Ross Avenue, Suite 5200
                                      Dallas, TX 75201
                                      Telephone: (214) 665-3600

                                      ATTORNEYS FOR PLAINTIFF


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                               CERTIFICATE OF SERVICE

       I certify that on October 10, 2024, I served the foregoing document electronically in

accordance with the Federal Rules of Civil Procedure.

                                               /s/ Dee J. Kelly, Jr.__________________
                                               Dee J. Kelly, Jr.




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